

People v Conyers (2025 NY Slip Op 02160)





People v Conyers


2025 NY Slip Op 02160


Decided on April 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2025

Before: Kern, J.P., Gesmer, Mendez, O'Neill Levy, Michael, JJ. 


Ind No. 3387/16||Appeal No. 4112|Case No. 2019-1469|

[*1]The People of the State of New York, Respondent,
vArnold Conyers, Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Sarah E. Siegel of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Conor E. Byrnes of counsel), for respondent.



Judgment, Supreme Court, New York County (Curtis Farber, J.), rendered November 1, 2018, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the second degree, and sentencing him to a term of five years, unanimously affirmed.
Defendant lacks standing to raise his Second Amendment claims because he did not apply for a gun license (see People v Johnson, 225 AD3d 453, 455 [1st Dept 2024], lv granted 42 NY3d 939 [2024]; see also People v Watts, 234 AD3d 620, 621 [1st Dept 2025]). Defendant also failed to preserve his Second Amendment claims, and we decline to review them in the interest of justice (see People v Cabrera, 41 NY3d 35, 46-51 [2023]; Watts, 234 AD3d at 621). We reject defendant's claim that application of the preservation requirement to this case violates his right to procedural due process. As an alternative holding, defendant fails to establish that his conviction is unconstitutional under New York State Rifle &amp; Pistol Assn. v Bruen (597 US 1 [2022]) (see Johnson, 225 AD3d at 455).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2025








